       2:18-cv-03326-RMG       Date Filed 03/03/20       Entry Number 361        Page 1 of 8




                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


 SOUTH CAROLINA COASTAL
 CONSERVATION LEAGUE, et al.,

                Plaintiffs,

 and                                              Civ. No. 2:18-cv-3326-RMG

 State of South Carolina, ex rel Alan             (Consolidated with 2:18-cv-3327-RMG)
 Wilson, Attorney General,
                                                  FEDERAL DEFENDANTS’ANSWER TO
 Intervenor                                       COMPLAINT-IN-INTERVENTION

                        v.

 WILBUR ROSS, in his official capacity
 as the Secretary of Commerce, et al.,

                Defendants.


        Federal Defendants, the National Marine Fisheries Service (“NMFS”), Chris Oliver, and

Wilber Ross, hereby answer the allegations contained in Intervenor State of South Carolina’s

Complaint-in-Intervention (ECF No. 123) (“Complaint”) as follows. The numbered paragraphs

of this answer correspond to the numbered paragraphs in Intervenors’ Complaint.      Defendants

specifically deny each and every allegation of the Complaint not otherwise expressly admitted,

qualified, or denied by this Answer.

        1.     Federal Defendants admit that on November 18, 2018, NMFS issued five

incidental harassment authorizations (“IHAs”) and it issued a Biological Opinion, Finding of No

Significant Impact, and Environmental Assessment before it issued those IHAs. The remaining

allegations in Paragraph 1 consist of Intervenors’ characterization of their claims, to which no

response is required.



                                                 1
     2:18-cv-03326-RMG         Date Filed 03/03/20      Entry Number 361         Page 2 of 8




       2.      The allegations in Paragraph 2 are too vague and conclusory for Federal

Defendants to form a response; they are denied on that basis.

       3.      The allegations in Paragraph 3 are too vague and conclusory for Federal

Defendants to form a response; they are denied on that basis.

       4.      The allegations in Paragraph 4 purport to characterize NMFS’s IHAs, which

speak for themselves and are best evidence of its contents. To the extent the allegations are

inconsistent with the plain language and meaning of the IHAs, they are denied.

       5.      Federal Defendants lack sufficient information to affirm or deny the allegations in

Paragraph 5, and on that basis deny them.

       6.      Federal Defendants lack sufficient information to affirm or deny the allegations

in Paragraph 6, and on that basis deny them.

       7.      The allegations in Paragraph 7 are too vague and conclusory for Federal

Defendants to form a response; they are denied on that basis.

       8.      Federal Defendants deny the allegations in the first sentence of Paragraph 8.

Federal Defendants lack sufficient information to affirm or deny the remaining allegations in

Paragraph 8, and on that basis deny them.

       9.      Federal Defendants deny the allegations in the first sentence of Paragraph 9.

Federal Defendants lack sufficient information to affirm or deny the remaining allegations in

Paragraph 9, and on that basis deny them.

       10.     Federal Defendants deny the allegations in Paragraph 10.

       11.     Federal Defendants lack sufficient information to deny or admit the allegations in

Paragraph 11 and deny them on that basis.




                                                2
     2:18-cv-03326-RMG         Date Filed 03/03/20     Entry Number 361        Page 3 of 8




       12.    Federal Defendants hereby incorporate their responses to Paragraphs 11 -31 of

Plaintiffs’ Complaint (ECF No. 253).

       13.    Federal Defendants hereby incorporate their responses to Paragraphs 32 -34 of

Plaintiffs’ Complaint (ECF No. 253).

       14.    Federal Defendants hereby incorporate their responses to Paragraphs 35 and 36 of

Plaintiffs’ Complaint (ECF No. 253).

       15.    Federal Defendants hereby incorporate their responses to Paragraphs 37 -39 of

Plaintiffs’ Complaint (ECF No. 253).

       16.    Federal Defendants hereby incorporate their responses to Paragraphs 40 -46 of

Plaintiffs’ Complaint (ECF No. 253).

       17.    Federal Defendants hereby incorporate their response to Paragraph 47 of

Plaintiffs’ Complaint (ECF No. 253).

       18.    Federal Defendants hereby incorporate the responses set forth above.

       19.     Federal Defendants hereby incorporate their response to Paragraphs 49-75 of

Plaintiffs’ Complaint (ECF No. 253).

       20.    The allegations in Paragraph 20 are too vague, speculative and conclusory for

Federal Defendants to form a response; they are denied on that basis.

       21.    The allegations in Paragraph 21 are too vague, speculative and conclusory for

Federal Defendants to form a response; they are denied on that basis.

       22.    The allegations in Paragraph 22 are too vague, speculative and conclusory for

Federal Defendants to form a response; they are denied on that basis.

       23.    The allegations in the first and second sentences of Paragraph 23 purport to

characterize the Constitution and OSCLA, which speak for themselves and are best evidence of




                                                3
     2:18-cv-03326-RMG          Date Filed 03/03/20      Entry Number 361         Page 4 of 8




their contents. To the extent the allegations are inconsistent with the plain language and meaning

of those documents, they are denied. The remaining allegations in Paragraph 23 consist of legal

conclusions, to which no response is required. To the extent a response is required, they are

denied.

          24.   Federal Defendants admit that Executive Order 13,795 was issued on April 28,

2017. The remaining allegations in the first and second sentences of Paragraph 24 purport to

characterize Executive Order 13,795, which speak for themselves and are best evidence of their

contents. To the extent the allegations are inconsistent with the plain language and meaning of

the order, they are denied. The remaining allegations in Paragraph 24 consist of legal

conclusions, to which no response is required. To the extent a response is required, they are

denied.

          25.   The allegations in Paragraph 25 consist of legal conclusions, to which no response

is required. To the extent a response is required, they are denied.

          26.   The allegations in Paragraph 26 are denied.

          27.   Federal Defendants hereby incorporate the responses set forth above.

          28.   Federal Defendants hereby incorporate their response to Paragraphs 77-92 of

Plaintiffs’ Complaint (ECF No. 253).

          29.   Federal Defendants deny the allegations in Paragraph 29.

          30.   Federal Defendants hereby incorporate the responses set forth above.

          31.   Federal Defendants hereby incorporate their response to Paragraphs 95-100 of

Plaintiffs’ Complaint (ECF No. 253).

          32.   The allegations in the first sentence of Paragraph 32 purport to characterize

NMFS’s Biological Opinion, which speaks for itself and is best evidence of its contents. To the




                                                 4
     2:18-cv-03326-RMG          Date Filed 03/03/20      Entry Number 361        Page 5 of 8




extent the allegations are inconsistent with the plain language and meaning of the opinion, they

are denied. Federal Defendants deny the remaining allegations in Paragraph 32.

       33.     Federal Defendants hereby incorporate the responses set forth above.

       34.     Federal Defendants hereby incorporate their response to Paragraph 103 of

Plaintiffs’ Complaint (ECF No. 253).

       35.     The allegations in the first sentence of Paragraph 35 purport to characterize

NMFS’s Biological Opinion, which speaks for itself and is best evidence of its contents. To the

extent the allegations are inconsistent with the plain language and meaning of the opinion, they

are denied. Federal Defendants deny the remaining allegations in Paragraph 35.

       36.     Federal Defendants hereby incorporate the responses set forth above.

       37.     Federal Defendants hereby incorporate their response to Paragraphs 106-114 of

Plaintiffs’ Complaint (ECF No. 253).

       38.     The allegations in Paragraph 38 consist of legal conclusions, to which no response

is required. To the extent a response is required, they are denied.

       39-42. Intervenors’ common law public nuisance claim has been dismissed by order of

the Court (ECF No. 355). No response is therefore required.

       43-44. Intervenors’ trespass claim has been dismissed by order of the Court (ECF No.

355). No response is therefore required.

       45.     Federal Defendants hereby incorporate the responses set forth above.

       46.     The allegations in the first and fourth sentences of Paragraph 46 consist of legal

conclusions, to which no response is required. To the extent a response is required, they are

denied. The remaining allegations in Paragraph 46 purport to characterize OCSLA, which




                                                 5
     2:18-cv-03326-RMG          Date Filed 03/03/20       Entry Number 361         Page 6 of 8




speaks for itself and is best evidence of its contents. To the extent the allegations are inconsistent

with the plain language and meaning of OCSLA, they are denied.

       47-48. Intervenors’ Admiralty claim has been dismissed by order of the Court (ECF No.

355). No response is therefore required.

                                     PRAYER FOR RELIEF


       The remainder of the Complaint constitutes of Intervenors’ request for relief, to which no

response is required. To the extent a further response is required, Federal Defendants deny that

Intervenors are entitled to the relief requested or any relief whatsoever.


                                       GENERAL DENIAL


       Federal Defendants deny any allegations of the Complaint, whether express or implied,

that are not specifically admitted, denied, or qualified herein.


                          AFFIRMATIVE AND OTHER DEFENSES

       Federal Defendants assert the following defenses to the claims made in Intervenors’

Complaint:

   1. The Court lacks subject matter jurisdiction over some or all of Intervenors’ claims.

   2. Intervenors lack standing to bring some or all of their claims.

   3. Some or all of Intervenors’ claims fail to state a claim upon which relief can be granted.

       WHEREFORE, Federal Defendants request that the Court dismiss the Complaint in its

entirety, render judgment for Federal Defendants and against Intervenors, and grant Federal

Defendants any further relief that the nature of the case and justice require.




                                                  6
2:18-cv-03326-RMG       Date Filed 03/03/20      Entry Number 361      Page 7 of 8




 Respectfully submitted this 3rd day of March, 2020.

                                            JEAN E. WILLIAMS
                                            Deputy Assistant Attorney General
                                            Environment and Natural Resources Division
                                            SETH M. BARSKY, Chief
                                            MEREDITH L. FLAX, Assistant Chief

                                            ALISON C. FINNEGAN, Trial Attorney
                                            United States Department of Justice
                                            Environment & Natural Resources Division
                                            Wildlife & Marine Resources Section
                                            Ben Franklin Station, P.O. Box 7611
                                            Washington, D.C. 20044-7611
                                            Tel: (202) 305-0500; Fax: (202) 305-0275
                                            Email: alison.c.finnegan@usdoj.gov


                                            PRERAK SHAH
                                            Deputy Assistant Attorney General
                                            LISA L. RUSSELL, Chief
                                            GUILLERMO MONTERO, Assistant Chief

                                            /s/ Marissa A. Piropato
                                            MARISSA A. PIROPATO
                                            Sr. Trial Attorney, MA Bar No. 651630
                                            United States Department of Justice
                                            Environment & Natural Resources Division
                                            Natural Resources Section
                                            Ben Franklin Station, P.O. Box 7611
                                            Washington, D.C. 20044-7611
                                            Tel: (202) 305-0470; Fax: (202) 305-0506
                                            Email: marissa.piropato@usdoj.gov

                                            Counsel for Federal Defendants




                                        7
     2:18-cv-03326-RMG             Date Filed 03/03/20   Entry Number 361        Page 8 of 8




                                   CERTIFICATE OF SERVICE

        I hereby certify that on March 3, 2020, I electronically filed the foregoing answer with

the Clerk of Court using the CM/ECF system, which will send electronic notification of such

filing to all counsel of record.

                                                         /s/ Marissa Piropato
